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          No. 22-3237
                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE SECOND CIRCUIT

               MICHEAL SPENCER, HIS TABERNACLE FAMILY CHURCH, INC.,
                                                  Plaintiffs-Appellees,

                                             v.

        STEVEN A. NIGRELLI, Acting Superintendent of the New York State Police,
                       in his official and individual capacities,
                                                        Defendant-Appellant,
      WEEDEN A. WETMORE, District Attorney for the County of Chemung, New York,
     in his official and individual capacities, MATTHEW VAN HOUTEN, District Attorney
      for the County of Tompkins, New York, in his official and individual capacities,
                                                         Defendants.



                       On Appeal from the United States District Court
                           for the Western District of New York

AMICI CURIAE BRIEF OF THE SYNAGOGUE SECURITY COUNCIL OF NORTH AMERICA,
               AND THE AMERICAN CENTER FOR LAW & JUSTICE
           IN SUPPORT OF PLAINTIFFS-APPELLEES AND AFFIRMANCE



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                                                  Dated: March 7, 2023
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                  CORPORATE DISCLOSURE STATEMENT
      The American Center for Law and Justice is a nonprofit organization that has

no parent and issues no stock.

                              INTEREST OF AMICI1

      The Synagogue Security Council of North America is an organization formed

to help synagogues protect themselves in an era of increasing threats of violence

targeting synagogues. According to the FBI,2 the median law enforcement response

time to a priority one active shooter call in the United States is over three minutes.

In rural areas, this could be over thirty minutes. This means that in case of an attack,

congregants will always be the first responders. In the past twenty years, according

to FBI statistics, there is an average of twelve victims per minute in an active threat

attack. This means that without an armed component to a synagogue’s security plan,

they need to be willing to potentially sacrifice the lives of thirty-six members of their

community before the police arrive on scene.

      In addition, it is not financially tenable or effective to expect that an armed

guard will always be present when there is a gathering of congregants in a



1
  All parties consented to the filing of this amicus brief. No party’s counsel in this
case authored this brief in whole or in part. No party or party’s counsel contributed
any money intended to fund preparing or submitting this brief. No person, other than
amicus, its members, or its counsel contributed money that was intended to fund
preparing or submitting this brief.
2
  FBI Law Enforcement Bulletin, https://leb.fbi.gov/.
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synagogue. Orthodox Jews pray 3 times a day in addition to study classes and other

synagogue programming, which means Orthodox synagogues would need an armed

guard present essentially most of the time the building is open. Also, since armed

guards are not part of the synagogue community, they cannot know who belongs to

the faith community. They are therefore generally incapable of serving as greeters

or screeners in order to vet with any accuracy who belongs and who doesn’t, who is

a threat and who is not. The only effective way to do this, according to the subject

matter experts on the SSCNA board of directors and advisors, is to have members

of the community trained as effective armed first responders.

      The American Center for Law & Justice (“ACLJ”) is an organization

dedicated to the defense of constitutional liberties secured by law. ACLJ attorneys

have argued before the Supreme Court of the United States in numerous cases

involving the freedoms of speech and religion.

      Amici respectfully submit this brief to make four points. First, the Supreme

Court’s most recent Free Exercise Clause jurisprudence essentially forecloses

classification of religious organizations as “sensitive places” in firearm restriction

laws. Second, there is no “substantial burden” requirement when a law discriminates

against religious institutions by placing them into a disfavored category. Third,

annual FBI data compilations belie the assertion that houses of worship are at

heightened risk of active shooter deaths. Fourth, the church autonomy principle

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encompasses church authority over the daily lives of church members, including

exercise of their constitutional rights within the church.

                                 INTRODUCTION

      In District of Columbia v. Heller, the Court stated that nothing in its decision

“should be taken to cast doubt on longstanding … laws forbidding the carrying of

firearms in sensitive places such as schools and government buildings.” 554 U.S.

570, 626 (2008). In the “Concealed Carry Improvement Act” (CCIA), New York

classified a “place of worship or religious observation” as a “sensitive place”

justifying severe restrictions on the right to carry firearms:

      Criminal possession of a firearm, rifle or shotgun in a sensitive location. 1. A
      person is guilty of criminal possession of a firearm, rifle or shotgun in a
      sensitive location when such person possesses a firearm, rifle or shotgun in or
      upon a sensitive location, and such person knows or reasonably should know
      such location is a sensitive location. 2. For the purposes of this section, a
      sensitive location shall mean: ... (c) any place of worship or religious
      observation.

N.Y. Penal Law § 265.01-e(1)–(2), (2)(c) (Consol. 2022). Other locations such as

government buildings and polling places are also designated sensitive places, see id.

§ 265.01-e(2)(a), (q), but most secular private property owners are excluded.

      Whatever the Supreme Court may have had in mind when it articulated the

“sensitive places” presumption in Heller, its subsequent Free Exercise Clause

decisions establish that churches and other religious organizations cannot

constitutionally be lumped into that category, absent extraordinary circumstances.

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Under Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1877 (2021), Roman Catholic

Diocese v. Cuomo, 141 S. Ct. 63, 66-67 (2020), and Tandon v. Newsom, 141 S. Ct.

1294, 1297 (2021) (per curiam), the Free Exercise Clause entitles religious entities

to “most-favored-nation”3 status when a law creates any favored class of comparable

activity.

                                   ARGUMENT

I.     Firearm Restrictions that Categorize Religious Organizations as a
       “Sensitive Place” Relegate Them to a Disfavored Category and Are
       Presumptively Unconstitutional.

       “Congress shall make no law respecting an establishment of religion, or

prohibiting the free exercise thereof . . . .” U.S. Const. amend. I. The Free Exercise

Clause requires “special solicitude to the rights of religious organizations,”

Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 189

(2012), and justifies laws that favor religion in some circumstances. See, e.g. Corp.

of Presiding Bishop v. Amos, 483 U.S. 327, 338 (1987) (“Where . . . government




3
  In The Remnants of Free Exercise, 1990 S. Ct. Rev. 1, 49-50 (1990), Professor
Douglas Laycock coined the label “most favored nation.” Justice Kavanaugh’s
dissenting opinion in Calvary Chapel Dayton Valley v. Sisolak, incorporated the
term while summarizing the Court’s Free Exercise Clause law. 140 S. Ct. 2603, 2612
(2020) (Kavanaugh, J., dissenting). In Tandon and Roman Cath. Diocese, the Court
fully embraced the principle though not the label. See generally Bradley J. Lingo &
Michael G. Schietzelt, A Second-Class First Amendment Right? Text, Structure,
History, and Free Exercise After Fulton, 57 Wake Forest L. Rev. 711, 728-29
(2022).
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acts with the proper purpose of lifting a regulation that burdens the exercise of

religion, we see no reason to require that the exemption comes packaged with

benefits to secular entities.”); Wisconsin v. Yoder, 406 U.S. 205, 216 (1972) (noting

that if the Amish’s social values were based on purely philosophical views, they

would not be protected); Walz v. Tax Comm’n, 397 U. S. 664, (1970) (upholding the

constitutionality of tax exempt status for churches).

      Laws that discriminate against religion are “odious to” the Free Exercise

Clause. Espinoza v. Mont. Dep’t. of Revenue, 140 S. Ct. 2246, 2255 (2020); Trinity

Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2025 (2017).

Similarly, laws that create favored and disfavored categories also violate the Free

Exercise Clause when religious organizations are assigned to the disfavored category

and no compelling government interest justifies the assignment. Roman Cath.

Diocese, 141 S. Ct. at 66-67; Tandon v. Newsom, 141 S. Ct. at 1297.

      A.     There is No Substantial Burden Requirement When a Law
             Discriminates against Religion on its Face.

      As a preliminary matter, there is no substantial burden requirement when

government discriminates against religious conduct. See Church of Lukumi Babalu

Aye, Inc. v. Hialeah, 508 U.S. 520, 531-47 (1993) (proceeding directly to the

compelling interest test without considering whether the ordinances posed a

substantial burden); McDaniel v. Paty, 435 U.S. 618 (1978) (no substantial burden


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analysis of state constitutional provision prohibiting “ministers of the Gospel or

priests of any denomination whatever” from serving as delegates to constitutional

convention); Tenafly Eruv Ass’n v. Borough of Tenafly, 309 F.3d 144, 170 (3d Cir.

2002) (“Applying such a burden test to non-neutral government actions would make

petty harassment of religious institutions and exercise immune from the protection

of the First Amendment.”) (citations omitted); Hartmann v. Stone, 68 F.3d 973, 979

n.4 (6th Cir. 1995) (rejecting substantial burden requirement); see generally Sherif

Girgis, Defining “Substantial Burdens” on Religion and Other Liberties, 108 Va. L.

Rev. 1759, 1768 (2022) (noting that “courts and commentators agree” that laws

targeting religious entities for disfavored treatment “are unlawful whether or not the

burden they impose is ‘substantial’”).

      This principle was reaffirmed recently in Tandon v. Newsom, 141 S. Ct. 1294

(holding unconstitutional Covid regulations disfavoring churches). The Court

reiterated the analytical framework governing laws that are not neutral and generally

applicable without reference to any burden on the law’s challenger. “This Court’s

decisions have made the following points clear. First, government regulations are

not neutral and generally applicable, and therefore trigger strict scrutiny under the

Free Exercise Clause, whenever they treat any comparable secular activity more

favorably than religious exercise.” Id. at 1296. Second, the comparability of the

religious and secular activity “must be judged against the asserted government

                                          6
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interest that justifies the regulation at issue.” Id. Third, the government bears the

burden to prove that the challenged law satisfies strict scrutiny. Id.

      B.     The CCIA’s Favored Treatment of Countless Businesses Triggers
             Strict Scrutiny.

      Analysis of the constitutionality of the CCIA therefore begins with

determining whether the law treats “any comparable secular activity more favorably

than religious exercise.” Id. at 1296. Even a single comparable secular activity

treated more favorably than religious exercise triggers strict scrutiny. See id.

(holding that it was immaterial that California treated equally in-home secular

meetings and in-home religious gatherings). Central to the Court’s holding was

California’s favored treatment of various businesses, including hair salons, retail

stores, personal care services, movie theaters, private suites at sporting events and

concerts, and indoor restaurants. The state offered no justification other than the

speculation that the Covid precautions required in those places “might not translate

readily to the home.” Id. at 1297.

      The CCIA treats numerous businesses and other privately sponsored secular

activities more favorably than houses of worship. See Spencer v. Nigrelli, 2022 U.S.

Dist. LEXIS 233341, at *20 (W.D.N.Y. Dec. 29, 2022) (noting CCIA’s favorable

treatment of hair salons, shopping malls, gas stations, office buildings, and garages).

Judged against the state’s asserted interest of reducing the risk of gun injuries and

deaths, the CCIA’s disfavored treatment of houses of worship cannot be justified in
                                           7
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the absence of credible evidence demonstrating that houses of worship are at greater

risk for gun injuries and deaths. As Appellee persuasively establishes, the State’s

assertion that houses of worship pose a unique risk of gun injuries is based purely

on conjecture and naked assertions, not evidence. See Appellee’s Br. at pp. 28-30

(discrediting the State’s claims that its disfavored treatment of houses of worship is

justified because are they are “prone to crowding,” “frequented by children,” and

“host constitutionally protected activity”).

      C.     Proper Characterization of the State’s Interest Is Critical to Strict
             Scrutiny Review.

      Broadly formulated interests, such as “protecting the public against gun

violence,” Appellants’ Br. at 32, cannot satisfy strict scrutiny. “[A] more precise

analysis” is required, focusing on “the asserted harm of granting specific exemptions

to particular religious claimants.” Fulton, 141 S. Ct. at 1881 (quoting Gonzales v. O

Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 431 (2006)). The

question therefore is not whether the State has a compelling interest in reducing gun

violence, but whether it has a compelling interest in denying an exception to Pastor

Spencer and the church. Id. If “the government can achieve its interests in a manner

that does not burden religion, it must do so.” Id. (emphasis added). Or to paraphrase

Tandon, the State cannot “assume the worst when people go to church but assume

the best when people go” shopping or to work. 141 S. Ct. at 1297. Absent compelling

evidence that churches in New York pose a heightened risk of gun violence, the
                                           8
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CCIA’s place-of-worship provision must fail strict scrutiny. Publicly available

statistical data on the location of gun injuries and deaths nationwide shows that no

such compelling evidence exists.

      D.   Annual FBI Active Shooter Incidence Reports Show that, Generally
           Speaking, Houses of Worship Are at Low Risk of Gun Deaths.

       The FBI compiles annual reports about active shooter incidents in the United

States,4 defining an active shooter “as one or more individuals actively engaged in

killing or attempting to kill people in a populated area.”5 For the past ten years, those

reports show that houses of worship are one of the last places where gun deaths

occur. In 2021, the latest year for which data has been published, there were sixty-

one active shooter incidents.6 Of those, thirty-two occurred in commercial

establishments, nineteen in outdoor spaces, three in government offices, three in

homes, and two in educational institutions—but only one in a house of worship.7 In

2020, there were forty active shooter incidents8—none of which occurred in a house




4
  Active Shooter Incidents in the United States in 2021, Fed. Bureau of Investigation
(May 2022), https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-us-
2021-052422.pdf/view.
5
  Id. at 2.
6
  Id.
7
  Id. at 21.
8
  Active Shooter Incidents in the United States in 2020, Fed. Bureau of Investigation,
2 (July 2021), https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-
us-2020-070121.pdf/view.
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of worship.9 From 2000 to 2019, active shootings in houses of worship accounted

for only 4.26% (13 of 305) of active shootings—and 5.19% (139 of 2,677) of

casualties.10 Similarly, a private organization distilling data from the FBI reports

between 2000-2013 found that of the 163 active shooter incidents, over 80%

occurred at work.11 Of the 132 worksite shootings, 73 incidents (45.6%) took place

at businesses, 39 (24.4%) at schools, 16 (10%) at government sites, and four at health

care facilities (2.5%).12 In short, as a general rule, the statistical data indicate that

places of worship pose no heightened risk of gun violence.



9
   Id. at 12 (reporting that 24 occurred in commercial establishments, 10 in open
spaces, 3 in government offices, and 3 in homes).
10
    Numbers were compiled from FBI reports on active shooters that cover the years
2000 to 2019. J. Pete Blair & Katherine W. Schweit, A Study of Active Shooter
Incidents in the United States Between 2000 and 2013, Tex. State Univ. & Fed.
Bureau of Investigation 5, 13 (2014), https://www.fbi.gov/file-repository/active-
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https://www.shrm.org/ResourcesAndTools/hr-topics/risk-management/Pages/FBI-
Active-Shooter-Work.aspx.
12
    Id.
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      It is nonetheless true that Jewish Synagogues have recently experienced an

increase in violent attacks, including with firearms.13 The threat, however, is from

outside the place of worship, not from within. Restricting a house of worship’s

constitutional right to protect itself against such attacks is an utterly irrational means

of addressing such external threats.




13
   See, e.g., Eric Berger, Jewish Interest in Active Shooter Training Soared After
Recent Attacks, Jewish Telegraphic Agency (July 12, 2022, 3:26 PM),
https://www.jta.org/2022/07/12/united-states/jewish-interest-in-active-shooter-
trainings-soared-after-recent-attacks (discussing how New York synagogues have
increasingly requested active shooter training in response to attacks across the
country); Kiara Alfonseca, Synagogue Attack Puts Jewish Community on Edge,
ABC News (Jan. 19, 2022, 5:15 AM), https://abcnews.go.com/US/synagogue-
attack-puts-jewish-community-edge/story?id=82311539 (citing a note from the FBI
and Department of Homeland Security stating that “[f]aith-based communities will
‘likely’ continue to be the target of violence”); Dakin Andone, Jewish Communities
Across the US on Heightened Alert After the Texas Standoff: ‘Is Our Community
Under      Attack     Again?’,      CNN       (Jan.   17,   2022,      9:16   AM),
https://www.cnn.com/2022/01/17/us/jewish-communities-security-
colleyville/index.html (highlighting the Colleyville, Texas, synagogue hostage
situation in 2022, the San Diego synagogue shooting in 2019, and the Pittsburgh
synagogue shooting in 2018); Ben Sales, Synagogues Are Now Conducting Active
Shooter Drills During Services, Jewish Telegraphic Agency (July 1, 2019, 2:26 PM),
https://www.jta.org/2019/07/01/united-states/synagogues-are-now-conducting-
active-shooter-drills-during-services; see generally Audit of Antisemitic Incidents
2021,          Anti-Defamation           League         23       (Apr.       2022),
https://www.adl.org/sites/default/files/pdfs/2022-
05/ADL_2021%20Audit_Report_042622_v11.pdf; Amir Vera, et al., NYPD
Investigates 6 Attacks at 4 Synagogues Over a Two-Day Span, CNN (Apr. 25, 2021,
9:59 PM), https://www.cnn.com/2021/04/25/us/new-york-synagogue-vandalism-
hate-crimes/index.html.

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       Fulton and Tandon make this a very easy case. Because the CCIA’s place-of-

worship provision is virtually certain to fail strict scrutiny, the district court correctly

held that Pastor Spencer and the church are likely to succeed on the merits of their

Free Exercise Claim. See Tandon, 141 S. Ct. at 1296 (rejecting state’s

unsubstantiated assertion that certain risk factors are “present in worship but absent

from other secular activities”).

II.    The Church Autonomy Principle Necessarily Includes Authority over
       Church Members’ Exercise, Within the Organization, of Other
       Constitutional Rights.

       From the founding, “religious bodies have been the preeminent example of

private associations that have “‘act[ed] as critical buffers between the individual and

the power of the State.’” Hosanna-Tabor, 565 U.S. at 199 (2012) (Alito, J.

concurring) (quoting Roberts v. U.S. Jaycees, 468 U.S. 609, 619 (1984)). Religion

often “pervades and determines [church members’] … entire way of life.” Yoder,

406 U.S. at 216 (1972). Church doctrine can therefore govern manifold aspects of

daily life, including the exercise of constitutional rights. Religious doctrine may




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touch on speech,14 intimate association,15 the right of assembly,16 and the bearing of

weapons.17

      The earliest church autonomy doctrine cases involved a religious institution’s

control of its property. See, e.g., Watson v. Jones, 80 U.S. 679, 725-33 (1872)

(property dispute between two Presbyterian churches); Kedroff v. St. Nicholas

Cathedral of Russian Orthodox Church, 344 U.S. 94, 109-10, 120-21 (1952)

(“[W]hen the property right follows as an incident from decisions of the church

custom or law on ecclesiastical issues, the church rule controls.”); Presbyterian

Church in the U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian Church, 393

U.S. 440, 449-51 (1969) (property dispute between overlapping church entities);

Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S. 696, 709 (1976) (same).




14
   See, e.g., Ephesians 5:4 (“Obscene stories, foolish talk, and coarse jokes—these
are not for you. Instead, let there be thankfulness to God.”).
15
   See, e.g., Kiddushin 68b (Talmudic provision forbidding intermarriage between
Jew and Gentile).
16
   See, e.g., Hebrews 10:25 (“Let us not neglect meeting together, as some have made
a habit, but let us encourage one another, and all the more as you see the Day
approaching.”).
17
   Sikh Rehat Maryada [Official Sikh Code of Conduct and Conventions] Sec. 6, Ch.
XIII, Art. XXIV, available at http://gurunanakdarbar.net/sikhrehatmaryada.pdf
(mandating that all Sikhs carry a kirpan [ceremonial sword]). The kirpan reminds
the “bearer of a Sikh’s solemn duty to protect the weak and promote justice for all.”
Sikhism       and   the     Sikh     Kirpan    Fact     Sheet,   Sikh    Coal.,    1,
https://www.sikhcoalition.org/wp-content/uploads/2016/12/kirpan-factsheet-
aug2018.pdf (last visited Mar. 6, 2023).

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These decisions establish Pastor Spencer’s and the Church’s right to determine

whether church members can exercise a constitutionally guaranteed right to protect

the Church’s property and the lives of the Church’s members. Control over the use

of a church’s property necessarily includes lawful means of protecting that property,

whether with fences, door locks or a security system. If a church has control over

how its property is secured, it surely has control over whether its members can

engage in constitutionally protected conduct to protect the property and the church’s

members. See Spencer, 2022 U.S. Dist. LEXIS 233341, at *5 (holding that church

autonomy doctrine encompasses control over “which personal items members and

visitors may bring with them onto the Church’s premises”) (internal citations

omitted).

      In Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049 (2020),

the Supreme Court reiterated the expansive scope of church autonomy and the

critical importance of judges refraining from second-guessing church teaching on

faith, doctrine, and religious law. The ministerial exception was but one

“component” of a broader church autonomy doctrine, which gives religious entities

“independence” to decide matters of church governance and internal management.

Id. at 2060. Religious institutions have the right “to decide for themselves, free from

state interference, matters of church government as well as those of faith and

doctrine.” Id. at 2055. Religious institutions are also free to make “internal

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management decisions that are essential to the institution’s central mission.” Id. at

2060. Such internal management decisions include: 1) personnel decisions that are

the “very reason for the existence” of a particular institution, “essential to the

institution’s central mission,” or involving those who would lead others toward or

away from the faith, id. at 2055, 2060; 2) decisions “conveying the Church’s

message and carrying out its mission,” id. at 2062; 3) decisions “transmitting the ...

faith to the next generation,” id. at 2063; and 4) elucidating or teaching the tenets of

the faith, id. at 2064.

       These accounts of church autonomy are broad on their face. They
       reference or encompass at least a religion’s theological beliefs,
       authoritative doctrines, authority structures, decisions about the range
       of services an institution might offer, and to whom and how they will
       be delivered, as well as the theological foundations or motivations for,
       and the immanent and transcendent goals of, the entire institution.

Helen M. Alvare, Church Autonomy After Our Lady of Guadalupe School: Too

Broad? Or Broad as it Needs to Be?, 25 Tex. Rev. L. & Pol. 319, 323 (2021).

       The church’s internal management decision to allow church staff and

congregants to possess firearms on church grounds furthers the church’s mission

because it protects the lives of those who will transmit the faith as well as the lives

of the next generation. See 140 S. Ct. at 2063. The district court correctly held that

Pastor Spencer and the Church are likely to succeed on their claim that the place-of-

worship provision violates the Religion Clauses’ church autonomy doctrine.


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                               CONCLUSION

     Amici respectfully request this Court to affirm the judgment below.

                                           Respectfully submitted,


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                        CERTIFICATE OF COMPLIANCE

         This brief complies with type-volume limitation of Federal Rule of Appellate

Procedure 32(a)(7)(B) and Local Rules 32.1(a)(4)(A) and 29.1(c) because this brief

contains 3,572 words, excluding the parts of the brief exempted by Fed. R. App. P.

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Dated: March 7, 2023


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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 7, 2023, I electronically filed a copy of the

foregoing Amicus Curiae Brief using the ECF System which will send notification

of that filing to all counsel of record in this litigation. I also certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.

Dated: March 7, 2023


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